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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                           Chapter you are filing under:

                                                                                    Chapter 7
                                                                                    Chapter 11
                                                                                    Chapter 12
                                                                                    Chapter 13                                        Check if this an
                                                                                                                                      amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                     About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Franz
     your government-issued          First name                                                        First name
     picture identification (for
     example, your driver's          Josef
     license or passport).           Middle name                                                       Middle name
     Bring your picture
     identification to your
                                     Rosinus
     meeting with the trustee.       Last name and Suffix (Sr., Jr., II, III)                          Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Franz J Rosinus
                                     Franz Rosinus
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-3537
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Franz Josef Rosinus                                                                   Case number (if known)




                               About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have DBA BJR&FJR LLC
     used in the last 8 years DBA Lake Juliana Estates Homeowners
                               Association, Inc
                               DBA Corkscrew Plantation V, Inc
                               DBA Corkscrew Plantation VII, Inc
                               DBA Hendry Plantation, LLC
                               DBA Synergy Golf Development, LLC
                               DBA Alico Road Business Park LLC
                               FDBA Venarum Care LLC
                               FDBA Lee Land Holdings LLC
                               FDBA Synergy Industrial Enterprises, LLC
                               FDBA Airport Industrial Holdings LLC
                               FDBA UTEBJ Holdings LLC
                               FDBA Alico Lakeside LLC
                               FDBA OCP Golf Partners 1 LLC
                               FDBA R&W Tax Investors LLC
                               FDBA Zan Agro Hendry Plantation LLC
                               FDBA Lighthouse Capital I, LLC
                               FDBA Lighthouse Capital II, LLC
                               FDBA Unlimited Green Energy LLC
                               FDBA Lee Road Extension Assoc., Inc
                               FDBA Art Village Institute of Florida
                               Corporation
                               FDBA Corkscrew Plantation, Inc
                               FDBA Corkscrew Plantation II, Inc
                               FDBA Corkscrew Plantation III, Inc
                               FDBA Corkscrew Plantation IV, Inc
                               FDBA Corkscrew Plantation Gold Club, Inc
                               FDBA Old Corkscrew Golf Club Operations,
                               Inc
                               FDBA FJR, LLC
                               FDBA OCP Golf Partners 2, LLC
                               FDBA OCP Golf Partners 3, LLC
                               FDBA OCP Golf Partners 4, LLC
                               FDBA OCP Golf Partners 5, LLC
                               FDBA OCP Golf Partners 6, LLC
                               FDBA OCP Golf Partners 7, LLC
                               FDBA OCP Golf Partners 8, LLC
                               FDBA OCP Golf Partners 9, LLC
                               FDBA OCP Golf Partners 10, LLC
                               FDBA Rosinusjet, LLC
                               FDBA FJRB, LLC
                               FDBA OCGC Investments, LLC
                               FDBA Old Corkscrew Partners, LLC
                               FDBA OCP Golf Partners 11, LLC
                               FDBA OCP Golf Partners 12, LLC
                               FDBA Lighthouse Capital, LLC
                               FDBA Lighthouse Capital IV, LLC
                               FDBA FTTE Finance, LLC
                                                                                             I have not used any business name or EINs.
                               FDBA Alico Road Business Park
                               Condominium Assoc., Inc
     Include trade names and   Business name(s)                                           Business name(s)
     doing business as names

                               EINs                                                       EINs




5.   Where you live                                                                       If Debtor 2 lives at a different address:


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Debtor 1   Franz Josef Rosinus                                                                        Case number (if known)
                             24080 Tuscany Ct
                             Bonita Springs, FL 34134
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   Lee
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing          Check one:                                                    Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any              have lived in this district longer than in any other
                                         other district.                                               district.

                                         I have another reason.                                        I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Franz Josef Rosinus                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Franz Josef Rosinus                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Franz Josef Rosinus                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                            You must check one:
    you have received a                  I received a briefing from an approved credit                  I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a               this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                     completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                  I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have              this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                   of completion.
     file.
                                         Within 14 days after you file this bankruptcy                  Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and          MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                          any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                   I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                      from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                   those services during the 7 days after I made my
                                         days after I made my request, and exigent                      request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                  temporary waiver of the requirement.
                                         of the requirement.
                                                                                                        To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                    attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining                to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why              before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for              circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                        with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                     filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                      If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must          receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.        file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                  copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you              not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                        Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                        cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                         credit counseling because of:                                  counseling because of:

                                               Incapacity.                                                    Incapacity.
                                               I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                        makes me incapable of realizing or making rational
                                               making rational decisions about finances.                      decisions about finances.

                                               Disability.                                                    Disability.
                                               My physical disability causes me to be                         My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                 participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I                through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                     do so.

                                               Active duty.                                                   Active duty.
                                               I am currently on active military duty in a                    I am currently on active military duty in a military
                                               military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.            of credit counseling with the court.




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Debtor 1    Franz Josef Rosinus                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do         16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                                No. Go to line 16b.
                                                Yes. Go to line 17.
                                  16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.

                                                Yes. Go to line 17.
                                  16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under             No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that            Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                    No
     are paid that funds will
     be available for                           Yes
     distribution to unsecured
     creditors?

18. How many Creditors do            1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                             5001-10,000                                   50,001-100,000
    owe?                             50-99
                                     100-199                                          10,001-25,000                                 More than100,000
                                     200-999

19. How much do you                  $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                           $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                        $50,001 - $100,000
                                     $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                  $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities        $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                            $10,000,001 - $50 million
                                     $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                  United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                  document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                  and 3571.
                                  /s/ Franz Josef Rosinus
                                  Franz Josef Rosinus                                               Signature of Debtor 2
                                  Signature of Debtor 1

                                  Executed on     January 19, 2017                                  Executed on
                                                  MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Franz Josef Rosinus                                                                              Case number (if known)




For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one                under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by     and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need      schedules filed with the petition is incorrect.
to file this page.
                                  /s/ Carmen Dellutri, Esq.                                          Date         January 19, 2017
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Carmen Dellutri, Esq.
                                  Printed name

                                  The Dellutri Law Group, P.A.
                                  Firm name

                                  1436 Royal Palm Square Blvd.
                                  Fort Myers, FL 33919-1049
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     (239) 939-0900                             Email address

                                  0044385
                                  Bar number & State




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Aldridge Conners. LLP                  BMO Harris Bank                           David Gillis
7000 West Palmetto Park Rd             PO Box 660310                             15701 South Tamiami Trl
Suite 307                              Sacramento, CA 95866-0310                 Fort Myers, FL 33908
Boca Raton, FL 33433



Alice R Huneycutt Esq.                 BMO Harris Bank                           Dyck Oneal Inc
401 E Jackosn St                       PO Box 84048                              6060 N Central Expy Ste
PO BOX 3299                            Columbus, GA 31908-4048                   Dallas, TX 75206
Tampa, FL 33601



Alice R. Huneycutt Esq                 Brennan, Manna & Diamond                  Equifax Credit Information
401 E Jackson St                       3301 Bonita beach road                    Services, Inc.
Tampa, FL 33601                        Suite 100                                 P.O. Box 740241
                                       Bonita Springs, FL 34134                  Atlanta, GA 30374



Alico Industrial Venture LLC           Calvary Portfolio Services                Experian
23190 Fashion Dr #203                  500 Summit Lake Ste 400                   475 Anton Boulevard
Estero, FL 33928                       Valhalla, NY 10595                        Costa Mesa, CA 92626




Alico Lakeside LLC                     Calvary Portfolio Services                FJRB LLC
23190 Fashion Dr                       Po Box 27288                              23190 Fashion Dr
#203                                   Tempe, AZ 85285                           #203
Estero, FL 33928                                                                 Estero, FL 33928



Alico Road Business Pk Condo           Cheffy Passidomo                          Fowler White Boggs PA
23190 Fashion Drive #205               821 Fifth Avenue                          PO Box 1438
Estero, FL 33928                       Suite 201                                 Tampa, FL 33601
                                       Naples, FL 34102



Andreu Palma & Andreu PL               ChexSystems                               Fowler White Boggs PA
1000 NW 57th Court                     Consumer Relation                         PO Box 1567
Suite 400                              7805 Hudson Rd Ste 100                    Fort Myers, FL 33902-1567
Miami, FL 33126                        Woodbury, MN 55125



Bank Of America                        Corkscrew Plantation                      Goede & Adamczyk PLLC
Nc4-105-03-14                          23190 Fashion Dr                          8950 Fontana Del Sol Way
Po Box 26012                           #203                                      Suite 100
Greensboro, NC 27410                   Estero, FL 33928                          Naples, FL 34109



Bank Of America                        Corkscrew Plantation V Inc                Internal Revenue Service
Po Box 982238                          23190 Fashion Dr                          Centralized Insolvency Op
El Paso, TX 79998                      #203                                      PO Box 7346
                                       Estero, FL 33928                          Philadelphia, PA 19101-7346
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Kevin F. Jursinski, PA              Phil Anderson Holdings                  Rothstein Rosenfeldt Adler
15701 South Tamiami Trl             3301 Bonita Beach Rd                    401 East Las Olas Boulevard
Fort Myers, FL 33908                Suite 100                               Suite 1650
                                    Bonita Springs, FL 34134                Fort Lauderdale, FL 33301



Lindsay & Allen, PLLC               PNC Bank Credit Card                    RYD International
13180 Livingston Rd Ste 201         Po Box 5570                             821 Fifth Avenue So.
Naples, FL 34109                    Mailstop BR- YB58-01-5                  Suite 201
                                    Cleveland, OH 44101                     Naples, FL 34102



M & I Mashall & Ilsley Bank         PNC Bank Credit Card                    TransUnion Consumer Solution
6645 W Oklahoma Ave                 1 Financial Pkwy                        P.O. Box 2000
Milwaukee, WI 53219                 Kalamazoo, MI 49009                     Chester, PA 19022-2000




M&I Marshall & Isley Bank           Professional Adjmnt Co                  US Attorney General
24031 South Tamiami Trail           14410 Metropolis Ave                    950 Pennsylvania Ave NW
Suite 101                           Ft Myers, FL 33912                      Washington, DC 20530
Bonita Springs, FL 34134



M&I Marshall & Isley Bank           Professional Adjmnt Co                  US Attorney's Office MD Fla
PO Box 3114                         14410 Metropolis Ave                    400 N Tampa St Ste 3200
Milwaukee, WI 53201-3114            Fort Myers, FL 33912                    Tampa, FL 33602-4798




Montgomery Bank                     Promenade at Bonita Bay Inc             Wells Fargo Financial
1395 Panther Lane                   26795 S Bay Dr                          PO Box 10475
Suite 300                           Bonita Springs, FL 34134                Des Moines, IA 50306
Naples, FL 34109



Nationstar Mortgage LLC             Quarles & Brady
8950 Cypress Waters Blvd            1395 Panther Lane
Coppell, TX 75019                   Suite 300
                                    Naples, FL 34109



Nationstar Mortgage LLC             Residences at Coconut Point
350 Highland                        IV Condo. Assoc.
Houston, TX 77067                   23159 Amgci Way
                                    Estero, FL 33928



Old Corkscrew Golf club             Roetzel & Andress
23190 Fashion Dr                    1375 East Ninth Street
3203                                Ninth Floor
Estero, FL 33928                    Cleveland, OH 44114
